                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


   EQUAL EMPLOYMENT OPPORTUNITY                         )
   COMMISSION,                                          )
                                                        )
                         Plaintiff,                     )
                                                        )      Civil Action No. 3:14-cv-00441
   and                                                  )      Judge Varlan
                                                        )      Magistrate Judge Guyton
                                                        )
   LINDA K. ATKINS,                                     )      Jury Demand
                                                        )
                  Intervening Plaintiff,                )
                                                        )
   v.                                                   )
                                                        )
   DOLGENCORP, LLC d/b/a                                )
   DOLLAR GENERAL CORP.,                                )
                                                        )
                  Defendant.                            )


   INTERVENING PLAINTIFF’S SUPPLEMENTAL PROPOSED JURY INSTRUCTIONS
                      and PROPOSED VERDICT FORM



          Intervening Plaintiff Linda Atkins, through counsel, submits the following Supplemental

   Proposed Jury Instructions, which she requests be read to the jury that will hear her case. Ms.

   Atkins submits a proposed verdict form.

          The following supplemental instructions are proposed at this time:

          IP-1:   “Disability” Under the ADA

          IP-2:   Employer’s Duty to Treat Disabled Employees Differently

          IP-3:   Similarly Situated Employees

          IP-4:   Duty to Engage in the Interactive Process




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         IP-5:   Termination Resulting from Failure to Accommodate

         IP-6:   Termination for Disability-Related Conduct

         IP-7: Defendant Must Articulate a Legitimate Non-Discriminatory Reason for
         Termination

         IP-8: Limited Relevance of Evidence that Defendant Employs and Has Accommodated
         Other Employees

         IP-9:   Mitigating Damages

         IP-10: Plaintiff’s Vulnerability or Preexisting Condition is Relevant



                                              Respectfully submitted,

                                              s/ Maha Ayesh
                                              Jennifer B. Morton
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                                 IP-1: “Disability” Under the ADA


           Under the ADA, the term “disability” means a physical or mental impairment that

   “substantially limits” one or more major life activities. I will now define some of these terms

   in more detail.

           First, diabetes qualifies as an impairment under the ADA. 1

           Second, “substantially limits” is not meant to be a demanding standard. 2 It only means

   that something is more difficult for the disabled person as compared to the general

   population. 3 An impairment need not prevent, or significantly restrict, the individual from

   performing a major life activity in order to be considered substantially limiting. 4 In

   determining whether Ms. Atkins was substantially limited in an activity, you should consider

   her limitations without any remedial or corrective measures, such as medication, insulin, or

   diet. 5 An impairment that is episodic or in remission is a disability if it would substantially

   limit a major life activity when active. 6

           Finally, “major life activities” include eating, as well as other activities such as, but

   not limited to, caring for oneself, performing manual tasks, concentrating, thinking,

   communicating, and working. 7 A “major life activity” also may include the operation of a

   major bodily function such as the endocrine function, or the operation of an individual organ




   1
       EEOC, “Questions & Answers about Diabetes in the Workplace and the Americans with
    Disabilities Act (ADA),” available at http://www.eeoc.gov/laws/types/diabetes.cfm#fn10.
   2
      29 C.F.R. §1630.2(j)(1).
   3
      Id. at §1630.2(j)(1)(ii).
    4
       Tate v. Sam’s East, Inc., No. 3:11- CV-87, 2013 WL 1320634 at *9 (E.D. Tenn. March 29,
    2013) (citing 29 C.F.R. § 1630.2(j)(ii)).
   5
      29 C.F.R. §1630.2(j)(1)(vi).
   6
      Id. at §1630.2(j)(1)(vii).
   7
       42 U.S.C. § 12102(2)(A)


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   within a body system, such as the pancreas. 8 The term “major” does not create a demanding

   standard for proving a disability. 9

           Under the ADA, the term “disability” is meant to be understood in favor of broad

   coverage. 10 A person does not need to present scientific, medical, or statistical evidence to

   prove that she has a disability. 11 Credible testimony from the plaintiff or others can be

   sufficient to prove a disability. 12

           Remember that your job is not to judge whether Ms. Atkins did a good or bad job of

   taking care of her disability. You are also not to compare Ms. Atkins’ disability with any

   disability you have or that anyone you know has. You are only to determine whether she had

   an impairment that substantially limited her in at least one major life activity. 13




   8
      29 C.F.R. §1630.2(j)(1)(i)-(iii)
   9
     Id. at §1630.2(i)(ii)(2) (citing ADAAA Section 2(b)(4) (Findings and Purposes)).
   10
      42 U.S.C. §12102(4)(A)
   11
      29 C.F.R. § 1630.2§ 1630.2(j)(1)(v).
   12
      Williams v. AT&T Mobility Servs., LLC, 2016 U.S. Dist. LEXIS 63895, at *20-21 (W.D. Tenn.
   May 16, 2016).
   13
      29 C.F.R. §1630.2(j)(1)(iv) (“The determination of whether an impairment substantially limits
   a major life activity requires an individualized assessment.”).


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                       IP-2: Modified Workplace Policies as an Accommodation

          The purpose of the ADA is to provide equal employment opportunities to disabled

   individuals. This sometimes requires that an individual with a disability be treated differently

   than other employees, to the extent that it requires the employer to reasonably accommodate an

   employee absent undue hardship. 14 A reasonable accommodation may include permitting the

   worker with a disability to violate a rule that others must obey. 15 Thus, modifying a workplace

   policy may be considered a reasonable accommodation that an employer must provide. 16




   14
      U.S. Airways, Inc. v. Barnett, 535 U.S. 391, 397 (2002).
   15
      Id. at 398.
   16
      Id.; see also EEOC, “Enforcement Guidance: Reasonable Accommodation and Undue
   Hardship Under the Americans with Disabilities Act,” Oct. 17, 2002, available at
   http://www.eeoc.gov/policy/docs/accommodation.html#workplace.


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                                    IP-3: Similarly Situated Employees

           To the extent that Defendant has alleged that it treated other employees the same as it

   treated Ms. Atkins, you must determine the extent to which the comparator employees were

   similar in all relevant respects. 17 You should consider such factors as whether the individuals

   have dealt with the same supervisor, have been subject to the same standards, and have engaged

   in the same conduct without such differentiating or mitigating circumstances that would

   distinguish their conduct or the employer’s treatment of them for it. 18 The fact that Defendant

   terminated non-disabled individuals for engaging in similar conduct as Ms. Atkins is not relevant

   to determining whether Ms. Atkins was entitled to an accommodation, unlawfully terminated

   because of conduct caused by Defendant’s failure to accommodate her, and/or unlawfully

   terminated because of disability-related conduct. 19

           If, however, you find evidence that Defendant treated non-disabled employees better than

   it treated Ms. Atkins, you may infer that the Defendant discriminated against Ms. Atkins because

   of her disability. 20




   17
      Bobo v. United Parcel Serv., Inc., 665 F.3d 741, 751 (6th Cir. 2012).
   18
      Wright v. Murray Guard, Inc., 455 F.3d 702, 710 (6th Cir. 2007) (quoting Ercegovich v.
   Goodyear Tire & Rubber Co., 154 F.3d 344, 352 (6th Cir. 1998)).
   19
      Doc. 66, Memorandum Opinion and Order, slip op. p. 45 (July 7, 2016).
   20
      Id., slip op. at 46 (citing Ercegovich, 154 F.3d at 352).


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                              IP-4: Duty to Engage in the Interactive Process

           Once an employee with a disability requests an accommodation, the ADA requires that

   the employer engage in an interactive process to identify the precise limitations resulting from

   the disability and potential reasonable accommodations that could overcome those limitations. 21

   This interactive process is mandatory, and both parties have a duty to participate in good faith. 22

           You may find that Defendant unlawfully failed to provide Ms. Atkins with a reasonable

   accommodation if you find that Defendant failed to engage in this interactive process in good

   faith and that a reasonable accommodation would have been possible but for the employer’s

   failure to engage in the interactive process. 23 Once an employer becomes aware of a need for

   accommodation, it must explore possible accommodations with the employee and must take

   steps to understand and address the employee’s disability. 24 An employer who makes no efforts

   to understand the employee’s medical condition and need for accommodation has not engaged in

   good faith in the interactive process. 25

           An employee’s obligation in order to trigger the interactive process is to make her need for

   an accommodation known to her employer. 26 The employee is not required to arrive at the end

   product by herself by determining what accommodation her employer would prefer and requesting




   21
      Melange v. City of Center Line, 482 F. App’x 81, 84 (6th Cir. 2012) (citing Kleiber v. Honda of
   Am. Mfg., Inc., 485 F.3d 862, 871 (6th Cir. 2007)).
   22
      Kleiber, 485 F.3d at 871.
   23
      Breitfelder v. Leis, 151 F. App'x 379, 386 (6th Cir. 2005) (quoting Taylor v. Phoenixville Sch.
   Dist., 184 F.3d 296, 320 (3d Cir. 1999)); Burress v. City of Franklin, 809 F. Supp. 2d 795, 813
   (M.D. Tenn. 2011) (citing Lafata v. Church of Christ Home for the Aged, 325 F. App’x 416, 422
   (6th Cir. 2009)).
   24
      Tobin v. Liberty Mut. Ins. Co., 433 F.3d 100, 108 n.7 (1st Cir. 2005).
   25
      Jones v. Nissan N. Am., Inc., 438 Fed. Appx. 388, 390, 2011 U.S. App. LEXIS 17412, *1 (6th
   Cir. 2011); Lovell v. Champion Car Wash, LLC, 969 F. Supp. 2d 945, 953-954 (M.D. Tenn.
   2013); Coffman v. Robert J. Young Co., 871 F. Supp. 2d 703, 714-715 (M.D. Tenn. 2012)
   26
      Gantt v. Wilson Sporting Goods Co., 143 F.3d 1042, 1046 (6th Cir. 1998).


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   that particular accommodation. 27 Nor is the employee required to unilaterally explore all possible

   accommodations on her own. 28

          If you find that Defendant has failed to engage in the interactive process, Ms. Atkins is

   entitled to relief on this basis if she proves that she could have been reasonably accommodated

   had the Defendant engaged in the interactive process in good faith. 29 This means that you should

   find in Ms. Atkins’ favor if you find that Defendant failed to engage in the interactive process

   and if Ms. Atkins can identify a reasonable accommodation that was available and would not

   have caused an undue hardship to Defendant. 30




   27
      Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 316 (3d Cir. 1999)
   28
      Doc. 66, Memorandum Opinion and Order, slip op. at 48-49.
   29
      EEOC v. Ford Motor Co., 782 F.3d 753, 766 (6th Cir. 2015); Arthur v. Am. Showa, Inc., 625
   F. App'x 704, 711 (6th Cir. 2015); Keith v. Cty. of Oakland, 703 F.3d 918, 929 (6th Cir. 2013).
   30
      Lafata v. Dearborn Heights Sch. Dist. No. 7, 2013 U.S. Dist. LEXIS 173731, *29-33, 2013
   WL 6500068 (E.D. Mich. 2013).30


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                        IP-5: Termination Resulting from Failure to Accommodate

          The Plaintiffs allege that Defendant unlawfully terminated Ms. Atkins when it fired her

   for conduct that was the result of its own failure to accommodate her.

          The ADA prohibits an employer from discharging an employee “because of” the

   employee’s disability. 31 You may find that Defendant unlawfully discharged Ms. Atkins

   because of her disability if you find that Defendant failed to accommodate Ms. Atkins’ known

   disability, and that this failure to accommodate led to conduct or performance inadequacies that

   were the reason for her termination. 32

          In this case, Defendant alleges that it terminated Ms. Atkins because she violated a

   company policy, not because of her disability. However, if the evidence convinces you that, had

   Dollar General granted Ms. Atkins a reasonable accommodation, Ms. Atkins would not have

   been fired for violating a workplace policy, then you must find in favor of the Plaintiffs. 33




   31
      Lewis v. Humboldt Acquisition Corp., 681 F.3d 312, 321 (6th Cir. 2012).
   32
      McPherson v. Mich. High Sch. Ath. Ass’n, 119 F.3d 453, 460 (6th Cir. 1997).
   33
      Hildebrand v. Dollar Gen. Corp., 2013 U.S. Dist. LEXIS 98974, at *25 (M.D. Tenn. July 16,
   2013).




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                        IP-6: Termination for Disability-Related Conduct
         Plaintiffs also allege that Defendant unlawfully discharged Ms. Atkins for conduct related

 to her disability. Defendant alleges that it was entitled to terminate Ms. Atkins for violating the

 employee purchase policy.

         Under the ADA, an employer may discipline an employee for job-related misconduct that

 disqualifies the employee from her job. 34 If an employee has committed a conduct or rule

 violation as a result of her disability, Defendant may only discipline the employee if the rule she

 violated is job-related and if enforcing it is consistent with business necessity. 35 It is not enough,

 however, that an employer had a business reason for having or enforcing the rule in general. If

 an employee violated a rule because of her disability, the employer must show that it had a

 business necessity to enforce the rule against that employee under the particular circumstances. 36

 Whether enforcing a conduct rule is job related and consistent with business necessity may rest

 on several factors, including the manifestation or symptom of a disability affecting an

 employee’s conduct, the frequency of occurrences, the nature of the job, the specific conduct at

 issue, and the working environment

         If you find that Defendant terminated Ms. Atkins for conduct that was caused by her

 disability and that Defendant’s enforcement of the conduct rule against Ms. Atkins was not job

 related and consistent with a business necessity under the circumstances, you should find in

 favor of Plaintiffs.


 34
    Macy v. Hopkins Cty. Sch. Bd. of Educ., 484 F.3d 357, 366 (6th Cir. 2007).
 35
    Yarberry v. Gregg Appliances, Inc., 625 F. App’x 729, 739 (6th Cir. 2015) (citation
 omitted) (citing EEOC publication, The Americans with Disabilities Act: Applying Performance
 and Conduct Standards to Employees with Disabilities).
 36
    EEOC v. Walgreen Co., 34 F. Supp. 3d 1049, 1056 (N.D. Cal. 2014) (citing EEOC
 publication)( “"[t]he only requirement imposed by the ADA is that a conduct rule be job-related
 and consistent with business necessity when it is applied to an employee whose disability caused
 her to violate the rule”).


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                                   2292
       IP-7: Defendant Must Articulate a Legitimate Non-Discriminatory Reason for
                                    Termination 37


         Defendant alleges that its decision to discharge Ms. Atkins was not because of her

 disability but because she violated a work policy. In order for you to consider Defendant’s

 stated reason for discharging Ms. Atkins as a legitimate, non-discriminatory reason, you

 should consider whether the reason given is the result of Defendant’s failure to accommodate

 Ms. Atkins. Reasons asserted by an employer for terminating an employee that flow from or

 are caused by the defendant’s failure to accommodate the employee’s disability are not

 “legitimate, non-discriminatory” reasons. 38 The ADA does not insulate an employer from

 liability for causing an employee to fail by refusing to accommodate her disability. 39

         Additionally, you should not consider Defendant’s reason for discharging Ms. Atkins

 as legitimate and non-discriminatory if you find that it is the equivalent of discharging Ms.

 Atkins for disability-related conduct that is not job-related or consistent with a business

 necessity, as you have been instructed. 40

         If you believe Defendant has proffered a legitimate, non-discriminatory reason for its

 decision to discharge Ms. Atkins, Plaintiffs may still prevail on their discrimination claims if


 37
    Intervening Plaintiff objects to instructing the jury on “pretext.” A pretext analysis is not
 relevant to this case, because Plaintiffs do not dispute that Defendant discharged Ms. Atkins for a
 rule violation. Rather, Plaintiffs contend that this rule violation amounts to termination because
 of her disability. Additionally, Intervening Plaintiff objects to instructing the jury on the
 McDonnell-Douglas burden-shifting framework, because that legal analysis ceases to be relevant
 beyond summary judgment and once a case proceeds to trial. McDole v. City of Saginaw, 471 F.
 App'x 464, 475 (6th Cir. 2012). Intervening Plaintiff offers this instruction in the event that the
 Court decides to instruct on pretext over her objections.
 38
    Hildebrand v. Dollar Gen. Corp., 2013 U.S. Dist. LEXIS 98974 (M.D. Tenn. July 16, 2013);
 EEOC v. Walgreen Co., 34 F. Supp. 3d 1049, 1059 (N.D. Cal. 2014); EEOC v. Centura Health
 Corp., 2007 U.S. Dist. LEXIS 70174 at *15 (D. Colo. 2007); Brown v. Arizona, 2011 U.S. Dist.
 LEXIS 79267, at *28 (D. Ariz. 2011).
 39
    Hildebrand, at *25-25.
 40
    Yarberry v. Gregg Appliances, Inc., 625 F. App’x 729, 739 (6th Cir. 2015).


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                                   2293
 they can prove that Defendant’s stated reason is a pretext. Plaintiffs may prove pretext by

 showing that (1) Defendant’s reason had no basis in fact, (2) Defendant’s reason did not

 actually motivate the adverse action, or (3) Defendant’s reason was insufficient to warrant the

 adverse action. 41

        Evidence of pretext also includes evidence challenging the reasonableness of the decision

 to terminate Ms. Atkins. 42 Evidence that the defendant failed to make a reasonably informed and

 considered business decision may lead you to determine that the defendant’s decision-making

 process is unworthy of credence and that the defendant’s stated reason is pretext for

 discrimination. 43 Pretext may also be proved through evidence of weaknesses, implausibilities,

 inconsistencies, incoherencies, or contradictions in the employer’s explanation. 44

        Plaintiffs may also prove pretext through evidence that the Defendant disciplined Ms.

 Atkins for a rule violation for which others were not disciplined. 45

        The ultimate question for you to decide is whether disability discrimination is a “but-for”

 cause of Ms. Atkins’s termination. 46




 41
    Manzer v. Diamond Shamrock Chems., Co., 29 F.3d 1078, 1084 (6th Cir. 1994).
 42
    White v. Baxter Healthcare Corp., 533 F.3d 381, 393 n.6 (6th Cir. 2008). Dr. Colleen Erbel v.
 Michael O. Johanns, No. 3:04-cv-555 (E.D. Tenn.) (J. Phillips Charge); Samuel O’Neal v.
 Wackenhut Servs. Inc., No. 3:03-CV-397 (E.D. Tenn.) (J. Phillips Charge).
 43
    Smith v. Chrysler Corp., 155 F.3d 799, 807 08 (6th Cir. 1998).
 44
    Anderson v. Sanford L.P., 2008 U.S. Dist. LEXIS 9286, *20-21 (E.D. Tenn. Feb. 7, 2008)
 (Varlan, J.).
 45
    Jackson v. VHS Detroit Receiving Hosp., Inc., No. 15-1802, 2016 U.S. App. LEXIS 3104, at
 *20-21 (6th Cir. Feb. 23, 2016)
 46
    Doc. 66, Memorandum Opinion and Order, slip op. p. 47.


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                IP-8: Limited Relevance of Evidence that Defendant Employs and has
                              Accommodated Other Employees

          You have heard evidence that other people employed by Defendant have disabilities

 and/or have been accommodated by Defendant. I caution you to keep in mind that whether

 Defendant employed other individuals with disabilities and whether it has accommodated

 other employees is not evidence that it fulfilled Ms. Atkins’ rights under the Americans with

 Disabilities Act. 47

          As I have instructed you previously, you should not compare Ms. Atkins’ disability

 with the disabilities of any other individuals.




 47
      Furnco Const. Corp. v. Waters, 438 U.S. 567, 579 (1978).


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                                   2295
                                     IP-9: Mitigating Damages

           Ms. Atkins has a duty to mitigate her damages, meaning that she took reasonable efforts

 to seek gainful employment after Defendant terminated her. It is Defendant’s burden to prove,

 by a preponderance of the evidence, that Ms. Atkins failed to mitigate her damages for lost

 pay. 48

           If you decide to award back pay damages, you should subtract from those damages the

 amount of pay that Ms. Atkins has earned from employment since the date of her termination by

 Dollar General. However, you should take into account the number of hours that Ms. Atkins had

 to work in order to obtain her mitigating income. It is appropriate to discount her mitigating

 income to compare it to what she would have earned if she had worked the same number of

 hours she worked while employed by the Defendant. 49

           Moreover, if you find that Dollar General’s conduct impaired Ms. Atkins’ ability to

 mitigate her damages, you should not reduce her back pay as a result. 50




 48
    Skalka v. Fernald Envtl. Restoration Mgmt. Corp., 178 F.3d 414, 426 (6th Cir. 1999).
 49
    Gaffney v. Riverboat Servs., 451 F.3d 424, 462 (7th Cir. 2006).
 50
    Durham Life Ins. Co. v. Evans, 166 F.3d 139, 157 (3d Cir. 1999).


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                                   2296
                   IP-10: Plaintiff’s Vulnerability or Preexisting Condition is Relevant


           Vulnerability is relevant in determining damages. The fact that the plaintiff may be
 unusually emotionally sensitive and incur great emotional harm from discriminatory conduct will
 not absolve the defendant from responsibility for the greater emotional harm. The defendant
 takes the plaintiff as it finds her. In some cases unusual sensitivity will enhance the loss; in
 others unusual hardiness will reduce it. Payment of the actual damage in each case will both
 compensate the plaintiff and lead the defendant to take account of the full consequences of its
 acts. It is particularly relevant to consider the plaintiff’s vulnerability when there is evidence that
 the defendant had knowledge of the plaintiff’s vulnerability before it took its actions against

 her. 51




 51
      Turic v. Holland Hospitality, 85 F.3d 1211, 1215-1216 (6th Cir. 1996).




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 EQUAL EMPLOYMENT OPPORTUNITY                          )
 COMMISSION,                                           )
                                                       )
                         Plaintiff,                    )
                                                       )      Civil Action No. 3:14-cv-00441
 and                                                   )      Judge Varlan
                                                       )      Magistrate Judge Guyton
                                                       )
 LINDA K. ATKINS,                                      )      Jury Demand
                                                       )
                  Intervening Plaintiff,               )
                                                       )
 v.                                                    )
                                                       )
 DOLGENCORP, LLC d/b/a                                 )
 DOLLAR GENERAL CORP.,                                 )
                                                       )
                  Defendant.                           )


              INTERVENING PLAINTIFF’S PROPOSED VERDICT FORM No. 1



       1. Have Plaintiffs EEOC and Linda Atkins proven that it is more likely true than not that
          Defendant Dollar General failed to provide a reasonable accommodation to Linda
          Atkins?
          Yes_____________ NO_____________


       2. Have Plaintiffs EEOC and Linda Atkins proven that it is more likely true than not that
          Defendant Dollar General discharged Ms. Atkins’ employment for conduct that occurred
          as a result of its failure to provide her with a reasonable accommodation?
          Yes_____________ NO_____________


       3. Have Plaintiffs EEOC and Linda Atkins proven that it is more likely true than not that
          Defendant Dollar General discharged Linda Atkins because of her disability when it
          discharged her for disability-related conduct?




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                                   2298
        Yes_____________ NO_____________


 If your answer to Question No. 1, Question No. 2 and/or Question No. 3 is "YES", then proceed
 to the following questions on damages. If your answer to Question No. 1, Question No. 2 and
 Question No. 3 is "NO", you should not answer any more questions.

    4. What amount of lost earnings, in the form of back pay and/or front pay, do you believe
       Linda Atkins is entitled to as a result of Defendant’s unlawful employment actions?

        AMOUNT $____________________

    5. What amount of compensatory damages may Ms. Atkins recover, including damages for
       pain and suffering, inconvenience, mental anguish, emotional distress, loss of enjoyment
       of life, harm to reputation, and other non-economic losses?

        AMOUNT $____________________

    6. Has Plaintiffs EEOC and Linda Atkins proven by a preponderance of the evidence that
       Defendant Dollar General acted with malice, reckless disregard, or callous indifference to
       the federally protected rights of Linda Atkins not to be subjected to discrimination
       because of her disability?

        Yes_____________ NO_____________




 _____________________________________                     _____________________________
 Foreperson                                                Date




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 EQUAL EMPLOYMENT OPPORTUNITY                         )
 COMMISSION,                                          )
                                                      )
                         Plaintiff,                   )
                                                      )      Civil Action No. 3:14-cv-00441
 and                                                  )      Judge Varlan
                                                      )      Magistrate Judge Guyton
                                                      )
 LINDA K. ATKINS,                                     )      Jury Demand
                                                      )
                 Intervening Plaintiff,               )
                                                      )
 v.                                                   )
                                                      )
 DOLGENCORP, LLC d/b/a                                )
 DOLLAR GENERAL CORP.,                                )
                                                      )
                 Defendant.                           )

              INTERVENING PLAINTIFF’S PROPOSED VERDICT FORM No. 2



          We, the jury, having found that Plaintiffs EEOC and Linda Atkins have established a

 claim of disability discrimination and is entitled to punitive damages, do hereby also answer as

 follows:


       7. What, if any, punitive damages should be assessed against Defendant Dollar General for
          violating Ms. Atkins’ rights under the Americans with Disabilities Act?


                 $_______________________




 ________________________________                                    ______________________
 Foreperson                                                          Date



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                                   2300
                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2016, a copy of the foregoing was filed electronically.
 Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
 indicated on the electronic filing receipt. Parties may access the filing through the Court’s
 electronic filing system.

                                          s/ Jennifer Morton




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